     3:19-cr-30067-RM-TSH # 34     Page 1 of 4                                      E-FILED
                                                      Monday, 13 January, 2020 11:54:34 AM
                                                               Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                      Plaintiff,          )
          v.                              )      Case No. 19-cr-30067-2
                                          )
WILLIE HEDDEN,                            )      The Honorable
                                          )      Richard Mills,
                      Defendant.          )      United States
                                          )      District Judge, Presiding.

MOTION TO CONTINUE INITIAL PRETRIAL CONFERENCE AND
                 TRIAL SETTINGS

     NOW COMES Defendant, WILLIE HEDDEN, by and through

his attorney, Mark Kevin Wykoff, Sr. of the Wykoff Law Office, LLC,

and for his Motion to Continue the Initial Pretrial Conference and

Trial Settings, states to this Honorable Court as follows, that:

     1.   The    Initial   Pretrial   Conference in        this    cause was

previously scheduled for January 24, 2020, at 11:00 a.m., before

the Honorable Magistrate Judge Tom Schanzle-Haskins.

     2.   The Jury Trial in this cause was previously scheduled for

February 4, 2020, at 10:00 a.m., before the Honorable Judge

Richard Mills.




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     3.       In that the first-scheduled pretrial setting is two weeks

away and an initial tender of discovery was just recently

transmitted to counsel, Defendant and his counsel have yet to

review and analyze the discovery in this cause.

     4.       Defendant is thus presently unable to assess the

strength of the Government’s case, nor make intelligent decisions as

to how to proceed going forward.

     5.       Defendant respectfully prays that this Honorable Court

continue the Initial Pretrial Conference and Jury Trial for an

approximate additional sixty (60) days, or to some future setting at

the Court’s discretion.

     6.       The Government has been consulted as to this Motion

and poses no objection to the relief requested herein.

     7.       Any and all delay shall be occasioned by the actions of

the Defendant.

     8.       Neither the rights of the Government, nor those of the

Defendant, will be jeopardized by the granting of the relief prayed

for herein.

     9.       This Motion is not brought for the purposes of delay; the

ends of justice served by granting this continuance outweigh the


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best interests of the Defendant and the public in a speedy trial. 18

U.S.C. §3161(h)(7)(A).

     WHEREFORE,          Defendant, WILLIE HEDDEN, respectfully

prays that this Honorable Court, for all of the reasons set forth

herein, continue his Initial Pretrial Conference and Trial Settings,

and grant him any and all other relief as this Honorable Court

deems just and equitable.

                                 Respectfully Submitted,

                                 WYKOFF LAW OFFICE, LLC

                     By:         /s/ `tÜ~ ^xä|Ç jç~Éyy? fÜA
                                 Mark Kevin Wykoff, Sr.
                                 Reg. No. 6292093
                                 Attorney for Defendant
                                 Wykoff Law Office, LLC
                                 919 South Eighth Street
                                 Springfield, Illinois 62703
                                 Telephone: (217) 522-3319
                                 Fax: (217) 522-4147
                                 E-mail: Mark@WykoffLaw.com




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           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS

                    CERTIFICATE OF SERVICE

I hereby certify that on January 13, 2020, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system,
which will send notification of such filing to the following:

Mr. Timothy A. Bass, Esq.                      Mr. James E. Elmore, Esq.
Assistant U.S. Attorney                        808 South Second Street
U.S. Attorney’s Office                         Springfield, IL 62704
318 South Sixth Street
Springfield, IL 62701

Mr. Victor B. Yanz
Assistant U.S. Attorney
U.S. Attorney’s Office
318 South Sixth Street
Springfield, IL 62701

and I hereby certify that I have mailed by United States Postal
Service the document to the following non-CM/ECF participants:

Mr. Willie Hedden
415 Camden Road
Mt. Sterling, IL 62353

                                 /s/`tÜ~ ^xä|Ç jç~Éyy? fÜA
                                 Mark Kevin Wykoff, Sr.
                                 Reg. No. 6292093
                                 Attorney for Defendant
                                 Wykoff Law Office, LLC
                                 919 South Eighth Street
                                 Springfield, Illinois 62703
                                 Telephone: (217) 522-3319
                                 Fax: (217) 522-4147
                                 E-mail: Mark@WykoffLaw.co


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